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                                                                           FILED IN OPEN COURT
ORIGINAL                                                                         FEB 1 « 2016
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                      I N THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                A T L A N T A DIVISION


 U N I T E D STATES OF A M E R I C A

        IK                                      Criminal Indictment

 TYSON       RHAME                              No. 1 : 1 6 C R 6 7
 TERRENCE KELLER, A K A TERRYK,
                                                UNDER SEAL
 jAMES S H A W
 F R A N K BELL



 THE G R A N D JURY CHARGES THAT:

                                       Count One
                      Conspiracy to Commit Mail Fraud and Wire Fraud
                                      (18 U.S.C. § 1349)

     1. Beginning in or about 2010, and continuing to on or about June 3, 2015, i n

 the Northern District of Georgia and elsewhere, the defendants, TYSON

 R H A M E , TERRENCE KELLER, also k n o w n as TerryK, JAMES SHAW, and

 FRANK BELL, did knowingly and w i l l f u l l y combine, conspire, confederate,

 agree and have a tacit understanding w i t h each other and w i t h others, both

 k n o w n and unknown to the Grand Jury, to devise and intend to devise a scheme

 and artifice to defraud, and to obtain money and property, by means of

 materially false and fraudulent pretenses, representations, and promises, and by

 the omissions of material facts, well knowing and having reason to know that

 said pretenses were and w o u l d be false and fraudulent when made and caused

 to be made and that said omissions were and would be materiaL and, i n so
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doing, caused the United States Postal Service and other interstate carriers to be

used, and interstate wire communications to be made, i n furtherance of the

scheme and artifice to defraud, i n violation of Title 18, United States Code,

Sections 1341 and 1343.

                                    Background

  It is relevant to this Indictment that during the time period of the conspiracy:

   2. Sterling Currency Group, LLC, which also d i d business as Sterling Online

Processing Services, LLC, and Dinar Banker (collectively, "Sterling"), was a

Georgia corporation w i t h its principal place of business i n Atlanta, Georgia.

Sterling sold and exchanged so-called "exotic currencies", including most

predominantly the currency for the country of Iraq, the Iraqi dinar.

   3. TYSON RHAME and JAMES SHAW were co-owners of Sterling, which

began operations i n 2004. FRANK BELL began working for Sterling i n 2010 and

became Sterling's Chief Operating Officer i n 2011.

   4. During the course of the conspiracy. Sterling grossed over $600 million i n

revenue f r o m the sale of Iraqi dinar and other currencies. During this time

period, R H A M E and SHAW received over $180 million i n distributions f r o m

Sterling. Sterling's sales were primarily derived f r o m three sources: (1) dinar

and other currency sales to individual customers, (2) non-refundable and

refundable "layaway orders" whereby customers could put a percentage of

money d o w n for the f u l l purchase price of the dinar and other currency, and (3)

orders f r o m entities that purchased the dinar and other currencies i n bulk (who
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were, at various times of the conspiracy, referred to as "high-value customers",

"high-risk customers", "resellers", and "agents").

   5. "The GET Team" was the trade name for a group of individuals, led by

TERRENCE KELLER, also k n o w n as TerryK, who ran a website, an internet chat

f o r u m and weekly conference calls i n which, among other things, information

was disseminated to participants concerning the potential investment value of

the Iraqi dinar. KELLER maintained operational control over The GET Team,

including its finances and revenue, through a Kentucky corporation named

"TCB Group."

                               Manner and Means

   6. During the time period of the conspiracy, the Iraqi dinar was touted by

some as a potential investment opportunity. For example, i n 2010, Sterling's

website, which contained videos featuring RHAME and articles written by

RHAME, described the potential for the Iraqi dinar to increase in value.

Additionally, information publicly available on certain internet websites, blogs,

chat rooms, and conference calls fueled the speculation by predicting that a

"revaluation" of the Iraqi dinar w o u l d occur imminently. A "revaluation" or

"RV", in this context, meant a sudden, exponential rise i n value of the Iraqi

dinar as compared to the U.S. dollar and other relatively stable global

currencies. Individuals who owned Iraqi dinar would realize potentially

enormous gains if an "RV" ever occurred in this manner.


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   7. TERRENCE KELLER, through The GET Team, was one of the leading

internet-based proponents of the "RV" theory. On The GET Team's website,

internet chat forum, and on weekly conference calls, KELLER falsely claimed to

have information from, and verified by, high-level confidential sources in the

United States government, the Iraqi government, international organizations,

and major financial institutions, regarding an imminent "RV."

   8. Sterling was one of the largest sellers and currency exchangers of the Iraqi

dinar i n the United States. Beginning at least as early as 2010, Sterling's business

revenue was driven i n part by the investment advice touted by TERRENCE

KELLER and others, both on the internet and on participating conference calls.

In fact, TYSON RHAME, JAMES SHAW, and FRANK BELL, through Sterling,

began advertising w i t h The GET Team through a web banner placed on The

GET Team's website. A Sterling representative also participated in The GET

Team's internet forum and on conference calls w i t h followers. A t various times,

R H A M E and BELL personally participated i n The GET Team's conference calls.

Followers of The GET Team were on occasion offered a discount coupon and

sale price to purchase Iraqi dinar f r o m Sterling.

   9. TERRENCE KELLER induced followers of The GET Team into believing

his claims about the imminent "RV" of the Iraqi dinar, and about his access to

high-level confidential sources, by making material misrepresentations and by

omissions of material facts. For instance, KELLER d i d not have information

from, or contact with, high-level confidential sources. Additionally, KELLER
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claimed directly and indirectly to followers of The GET Team that he had no

financial or other ulterior motive to promote the Iraqi dinar as an investment,

but rather, that he was simply disseminating his knowledge and information so

that others could benefit f r o m it as well. Religious and patriotic themes were

often interwoven into The GET Team's conference calls and internet forums,

further solidifying the perception that KELLER was honest, credible and could

be trusted.

   10. I n truth, TERRENCE KELLER had a secret arrangement w i t h TYSON

RHAME, JAMES SHAW and FRANK BELL to promote and "pump" the Iraqi

dinar i n exchange for payments made by Sterling to benefit KELLER. KELLER,

RHAME, SHAW, and BELL knew and believed that representations concerning

an imminent "RV" of the Iraqi dinar, particularly claims that the information

came f r o m one or more supposed high-level confidential sources, w o u l d boost

sales for Sterling.

   11. TERRENCE KELLER affirmatively told his followers that he d i d not

make substantial profits f r o m his dealings w i t h Sterling and other dinar dealers.

In actuality, since at least as early as August 2011, Sterling paid KELLER over

$160,000. Additionally, since Sterling's partnership w i t h KELLER began i n late

2010, KELLER received dinar specials, extensions on layaway sales, and other

material benefits f r o m Sterling. Separate f r o m this, KELLER received over

$100,000 f r o m at least one other dinar dealer. KELLER consistently downplayed

all of these financial benefits to his followers and listeners.
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   12. The correlation between Sterling's increased sales and TERRENCE

KELLER'S promotion and "pump" of the Iraqi dinar was further cemented by

the presence of a Sterling representative and other dinar dealer representatives,

including, at times, TYSON RHAME and FRANK BELL, on The GET Team's

conference calls and internet forums. A t various times, RHAME, BELL and

other Sterling representatives participated in conference calls and internet

forums i n which KELLER made representations to followers concerning the

imminent Iraqi dinar "RV", his access to high-level confidential sources, and

claims that he was just trying to be helpful and received no financial benefit for

providing this information to others.

   13. The presence and participation of TYSON RHAME, FRANK BELL, and

other Sterling representatives on The GET Team's conference calls and internet

forums provided further validation to followers that KELLER's claims about an

imminent "RV" of the Iraqi dinar should be believed. While making no direct

representations about the likelihood of an "RV" themselves or offering

investment advice to potential investors, RHAME, BELL, and other Sterling

representatives assured listeners on The GET Team's conference calls that

Sterling was prepared to handle the high volume of Iraqi dinar exchanges that

many investors expected would occur immediately after the "RV."




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   14. Since at least as early as 2011, RHAME, SHAW, A N D BELL established

financial relationships w i t h additional promoters, both known and unknown to

the Grand Jury, who promoted the notion of an Iraqi dinar revaluation.

   15. TYSON RHAME, JAMES SHAW, and FRANK BELL knew and believed

that many of Sterling's customers relied upon information f r o m TERRENCE

KELLER and these other promoters when making investment decisions

regarding the Iraqi dinar, and that much of the information being disseminated

by KELLER and the other promoters was materially false. For one, RHAME,

SHAW, and BELL never believed that KELLER or the other dinar promoters

had the types of high-level sources they repeatedly claimed to have.

Furthermore, at the same time that RHAME, SHAW, and BELL told their

employees not to speculate or offer investment advice to customers, they knew

that KELLER and the other promoters w o u l d continue to spread false

information about the dinar.

   16. TYSON RHAME, JAMES SHAW, and FRANK BELL knew and believed

that the pumping activities of TERRENCE KELLER and other dinar promoters

(who were oftentimes called "bloggers") were essential to Sterling's financial

success. In November 2010, SHAW told an individual that Sterling was the

"second largest i n US but have been making ground up as we now have the

bloggers singing our praises. Almost a little cult like." I n December 2010,

R H A M E told colleagues that KELLER and the GET Team "push 80% of our

business these days." By December 2011, the relationship w i t h KELLER had
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grown so strong that, i n an internal Sterling email, BELL referred to The GET

Team as Sterling's "largest referrer." RHAME, SHAW, and BELL knew and

believed that the relationships w i t h KELLER and the other dinar promoters

continued to generate Sterling millions of dollars i n dinar and other currency

sales throughout the course of the conspiracy.

  A l l i n violation of Title 18, United States Code, Section 1349.

                           Counts Two Through Seven
                                   Mail Fraud
                              (18 U.S.C. §§ 1341 and 2)

   17. The Grand Jury re-alleges and incorporates herein by reference the factual

allegations set forth in paragraphs 2-16.

   18. On or about the dates listed below, w i t h i n the Northern District of

Georgia, the defendants, TYSON RHAME, TERRENCE KELLER, also k n o w n as

TerryK, JAMES SHAW, and FRANK BELL, aided and abetted by each other and

others k n o w n and unknown to the Grand Jury, for the purpose of executing and

attempting to execute the above-described scheme and artifice to defraud,

knowingly and w i l l f u l l y caused to be delivered the following mailings to the

Sterling customers identified by initials below, by the Postal Service and by

private and commercial interstate carrier:




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 Count              Date                                 Mailing
                (On or about)
    2            4/29/2011           Money Order for $489.00 mailed f r o m J.H. to
                                                       Sterling
    3             8/22/2011          Money Order for $303.00 mailed f r o m R.G. to
                                                       Sterling
    4             9/29/2011          Money Order for $2,380.00 mailed f r o m K.C.
                                                      to Sterling
    5             5/8/2012            Cashier's check for $2,845.00 mailed f r o m
                                                   R.W. to Sterling
    6              9/4/2012          Cashier's check for $120.00 mailed f r o m L.B.
                                                      to Sterling
    7             10/8/2014           Cashier's check for $1,165.00 mailed f r o m
                                                   M.G. to Sterling

  A l l i n violation of Title 18, United States Code, Sections 1341 and 2.



                          Counts Eight Through Eleven
                                     Wire Fraud
                          (18 U.S.C. §§ 1343,1349, and 2)

   19. The Grand Jury re-alleges and incorporates herein by reference the factual

allegations set forth i n paragraphs 2-16.

   20. On or about the dates listed below, w i t h i n the Northern District of

Georgia, the defendants, TYSON RHAME, TERRENCE KELLER, also k n o w n as

TerryK, JAMES SHAW, and FRANK BELL, aided and abetted by each other and

others k n o w n and unknown to the Grand Jury, for the purpose of executing and

attempting to execute the above-described scheme and artifice to defraud.




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knowingly and w i l l f u l l y caused the following wire communications to be

transmitted i n interstate commerce:


  Count              Date                       Wire Communication
    8             7/11/2011             Wire transfer of $1,089.00 f r o m A.L. to
                                                        Sterling
    9             08/11/2011            Wire teansfer of $2,402.00 f r o m L.P. to
                                                        Sterling
    10            1/10/2012          Wire transfer of $11,370 f r o m D.G. to Sterling
    11            5/14/2015           Wire transfer of $480 f r o m K.H. to Sterling

  A l l i n violation of Title 18, United States Code, Sections 1343,1349, and 2.



                                 Count Twelve
                           Money Laundering Conspiracy
                                (18 U.S.C. § 1956(h))

   21. The Grand Jury re-alleges and incorporates herein by reference the factual

allegations set forth i n paragraphs 2-16.

   22. Beginning i n or about 2010, and continuing to on or about June 3, 2015, i n

the Northern District of Georgia and elsewhere, the defendants, TYSON

R H A M E and JAMES SHAW, d i d knowingly combine, conspire, and agree w i t h

each other and w i t h others, both known and unknown to the Grand Jury, to

commit offenses against the United States i n violation of Title 18, United States

Code, Section 1957, to wit: to knowingly engage and attempt to engage i n

monetary transactions by, through or to a financial institution, affecting

interstate and foreign commerce, i n criminally derived property of a value


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greater than $10,000, such property having been derived f r o m a specified

u n l a w f u l activity, to wit: mail fraud, i n violation of 18 U.S.C. § 1341, and wire

fraud, in violation of Title 18, United States Code, Section 1343; i n violation of

Title 18, United States Code, Section 1957.

  A l l in violation of Title 18, United States Code, Section 1956(h).



                      Counts Thirteen Through Twenty-Four
                                 Money Laundering
                             (18 U.S.C. §§ 1957 and 2)

   23. The Grand Jury re-alleges and incorporates herein by reference the factual

allegations set forth i n paragraphs 2-16.

   24. On or about the dates listed below, within the Northern District of

Georgia and elsewhere, the defendants, TYSON R H A M E and JAMES SHAW,

aided and abetted by each other and others known and unknown to the Grand

Jury, d i d knowingly engage and attempt to engage i n monetary transactions by,

through or to a financial institution, affecting interstate commerce, as described

below, each such transaction knowingly involving criminally derived property

of a value greater than $10,000, such property having been derived f r o m a

specified u n l a w f u l activity, that is mail fraud, in violation of Title 18, United

States Code, Section 1341, and wire fraud, in violation of Title 18, United States

Code, Section 1343, each transaction constituting a separate count as set forth

below:


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Count        Date                         Monetary Transaction
 13       01/24/2011     Transfer i n the amount of $150,000 f r o m a PrivateBank
                       account controlled by SHAW, ending i n account number
                           6748, to another Private Bank account controlled by
                                  SHAW, ending i n account number 4531
 14       02/18/2011    Transfer i n the amount of $75,000 f r o m a USAA account
                       controlled by RHAME, ending i n account number 4327-2,
                         to a financial account i n the name of a third party w i t h
                                               initials "T.A.G."
 15       03/22/2011    Check i n the amount of $1,000,000 f r o m a USAA account
                       controlled by RHAME, ending i n account number 4327-2,
                        issued to "TYSON RHAME", which was then deposited
                         in a Navy Federal Credit Union Account controlled by
                                 R H A M E , ending i n account number 6340.
 16       03/23/2011       Check i n the amount of $800,000 f r o m a PrivateBank
                        account controlled by SHAW, ending i n account number
                             4531, issued to a third party w i t h initials "F.F.C."
 17       10/25/2012      Transfer i n the amount of $700,000 f r o m a Wells Fargo
                         Bank account controlled by RHAME, ending i n account
                             number 8032, to a Wells Fargo Advisors account
                         controlled by R H A M E , ending i n account number 7939.
 18       12/31/2012   Transfer i n the amount of $5,000,000 f r o m a Merrill Lynch
                        account controlled by SHAW, ending i n account number
                           2089, to another Merrill Lynch account controlled by
                                  SHAW, ending i n account number 0471.
  19      04/04/2013      Transfer i n the amount of $500,000 f r o m a Wells Fargo
                       account controlled by RHAME, ending i n account number
                            ending i n 8032, to a third party w i t h initials " Y . N . "
  20      06/21/2013   Transfer i n the amount of $2,929,000 f r o m a Merrill Lynch
                        account controlled by SHAW, ending i n account number
                           2089, to another Merrill Lynch account controlled by
                                  SHAW, ending i n account number 2066.


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  21        07/30/2014   Transfer i n the amount of $3,000,000 f r o m a Merrill Lynch
                         account controlled by RHAME, ending i n account number
                            2062, to a Wells Fargo account controlled by Rhame,
                                        ending i n account number 5439.
  22        10/27/2014   Transfer i n the amount of $2,500,000 f r o m a Merrill Lynch
                          account controlled by SHAW, ending i n account number
                           2089, to a Merrill Lynch account controlled by SHAW,
                                        ending i n account number 2050.
  23        01/07/2015    Transfer i n the amount of $750,000 f r o m a Merrill Lynch
                          account controlled by SHAW, ending i n account number
                           2089, to a Merrill Lynch account controlled by SHAW,
                                        ending i n account number 2050.
  24        01/26/2015   Transfer i n the amount of $2,500,000 f r o m a Merrill Lynch
                         account controlled by RHAME, ending in account number
                           2062, to a Wells Fargo account controlled by RHAME,
                                        ending i n account number 5493.

A l l i n violation of Title 18, United States Code, Sections 1957 and 2.



                                 Forfeiture Provision

    25. Upon conviction of one or more of the offenses alleged i n Counts One

Through Eleven of the Indictaient, the Defendants, TYSON RHAME,

TERRENCE KELLER, JAMES SHAW, and FRANK BELL, shall forfeit to the

 United States pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and

Title 28, United States Code, Section 2461, any property, real or personal, which

constitutes or is derived f r o m proceeds traceable to the wire and mail fraud

 offenses or a conspiracy to commit such offenses including, but not hmited to,

 the following:

        •   MONEY JUDGMENT: A sum of money i n United States currency

            representing the amount of proceeds obtained as a result of the
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             offenses. If more than one defendant is convicted of an offense, the

             defendants so convicted are jointly and severally liable; and

     •       REAL A N D PERSONAL PROPERTY identified i n paragraph 27 below.

   26. Upon conviction of one or more of the offenses alleged in Counts Twelve

through Twenty-Four of the Indictment, the Defendants, TYSON R H A M E and

JAMES SHAW, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 982(a)(1), any property, real or personal, involved i n the

money laundering offenses and all property traceable to such property

including, but not limited to, the following:

      •      MONEY JUDGMENT: A sum of money i n United States currency

             representing the total amount of money involved i n each offense for

             which the defendant is convicted. If more than one defendant is

             convicted of an offense, the defendants so convicted are jointly and

             severally liable;

         •    REAL PROPERTY located at 225 Valley Road, N.W., Atlanta, Fulton

             County, Georgia 30305, Tax Parcel ID No.: 17-0116LL0675; and

         •    REAL A N D PERSONAL PROPERTY identified i n paragraph 27 below.



   27. Real and Personal Property Subject to Forfeiture:

      A. B A N K ACCOUNTS:
             1) $1,826,973.89 seized f r o m Actors Federal Credit Union account
                number XXXXOl-75;



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      2) $200,000.00 seized f r o m Actors Federal Credit Union account
         number XXXXOl-76;

      3) $45,183.75 seized f r o m Actors Federal Credit Union account
         number XXXXOl-99;

      4) $6,321.47 seized f r o m Actors Federal Credit Union account
         number XXXX02-75;

      5) $105,193.25 seized f r o m Actors Federal Credit Union account
         number XXXX02-76;

      6) $42,848.25 seized f r o m Actors Federal Credit Union account
         number XXXX02-99;

      7) any and all funds maintained i n Goldman Sachs and Co. account
         number XXX-XX113-9;

      8) any and all funds maintained i n J.P. Morgan Chase account
         number XXX-X9613;

      9) $760,456.50 seized f r o m Mahopac National Bank account number
         XXXXXX8418;

      10) any and all funds maintained i n Merrill Lynch account number
         XXX-X0471;

       11) any and all funds maintained i n Merrill Lynch account number
          XXX-X0478;

       12) any and all funds maintained i n Merrill Lynch account number
          XXX-X0479;

       13) any and all funds maintained i n Merrill Lynch account number
          XXX-X0480;

       14) any and all funds maintained i n Merrill Lynch account number
          XXX-X0488;
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      15) $100,002.56 seized f r o m Merrill Lynch account number XXX-
         X1015;

      16) any and all funds maintained i n Merrill Lynch account number
         XXX-X2048;

      17) any and all funds maintained i n Merrill Lynch account number
         XXX-X2049;

      18) any and all funds maintained i n Merrill Lynch account number
         XXX-X2050;

      19) any and all funds maintained i n Merrill Lynch account number
         XXX-X2062;

      20) any and all funds maintained i n Merrill Lynch account number
         XXX-X2065;

      21) any and all funds maintained i n Merrill Lynch account number
         XXX-X2066;

      22) any and all funds maintained i n Merrill Lynch account number
         XXX-X2072;

      23) any and all funds maintained i n Merrill Lynch account number
         XXX-X2087;

      24) any and all funds maintained i n Merrill Lynch account number
         XXX-X2089;

      25) any and all funds maintained i n Merrill Lynch account number
         XXX-X2386;

      26) $5,177,314.90 seized f r o m Merrill Lynch account number XXX-
         X2391;



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       27) any and all funds maintained i n Merrill Lynch account number
          XXX-X2421;

       28) any and all funds maintained i n Merrill Lynch account number
          XXX-X2426;

       29) $14,231.03 seized f r o m Regions Bank account number
          XXXXXX0235;

       30) $25,260.98 seized f r o m Regions Bank account number
          XXXXXX8724;

       31) $246.85 seized f r o m SunTrust Bank account number
          XXXXXXXXX0477;

       32) $66,312.33 seized f r o m SunTrust Bank account number
          XXXXXXXXX7073;

       33) $115,774.55 seized f r o m SunTrust Bank account number
          XXXXXXXXX7380;

       34) $2,780,017.79 seized f r o m TD Ameritoade account number XXX-
          XX3551;

       35) any and all funds maintained i n TD Ameritrade account number
          XXX-XX5715;

       36) any and all funds maintained i n TD Ameritrade account number
          XXX-XX5720;

       37) any and all funds maintained i n TD Ameritrade account number
          XXX-XX7569;

       38) $72.61 seized f r o m USAA Federal Savings Bank XXXXX-184-2;

       39) $104,336.14 seized f r o m USAA Federal Savings Bank account
          number XXX-X327-2;


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      40) any and all funds maintained i n Wedbush Morgan Securities Inc.
         account number XXXX4008;

      41) any and all funds maintained i n Wedbush Morgan Securities Inc.
         account number XXXX8860;

      42) $3,000.00 seized f r o m Wells Fargo account number
         XXXXXX0124;

      43) $36,200.72 seized f r o m Wells Fargo account number
         XXXXXX0132;

      44) $30,843.89 seized f r o m Wells Fargo account number
         XXXXXX0165;

       45) $126.02 seized f r o m Wells Fargo account number XXXXXX0199;

       46) $94,635.98 seized f r o m Wells Fargo account number
          XXXXXX0223;

       47) $9,787.45 seized f r o m Wells Fargo account number
          XXXXXX0231;

       48) $1,297.77 seized f r o m Wells Fargo account number
          XXXXXX0280;

       49) $13,961.39 seized f r o m Wells Fargo account number
          XXXXXX0298;

       50) $293,814.26 seized f r o m Wells Fargo account number
          XXXXXX0371;

       51) $9,940.00 seized f r o m Wells Fargo account number
          XXXXXX0397;

       52) $37,878.22 seized f r o m Wells Fargo account number
          XXXXXX0496;


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      53) $22,797.65 seized f r o m Wells Fargo account number
         XXXXXX0579;

      54) $37,015.37 seized f r o m Wells Fargo account number
         XXXXXX2673;

      55) $99,970.00 seized f r o m Wells Fargo account number
         XXXXXX2681;

      56) $201,572.39 seized f r o m Wells Fargo account number
         XXXXXX2821;

       57) $178,791.99 seized f r o m Wells Fargo account number
          XXXXXX2839;

       58) $85,038.93 seized f r o m Wells Fargo account number
          XXXXXX2850;

       59) $122,487.52 seized f r o m Wells Fargo account number
          XXXXXXXXX3245;

       60) $38,036.83 seized f r o m Wells Fargo account number
          XXXXXX3808;

       61) $1,597,831.09 seized f r o m Wells Fargo account number
          XXXXXX4675;

       62) $77,676.58 seized f r o m Wells Fargo account number
          XXXXXX4767;

       63) $50,048.42 seized f r o m Wells Fargo account number
          XXXXXX5133;

       64) $1,201,546.95 seized f r o m Wells Fargo account number
          XXXXXX5439;

       65) $40,516.12 seized f r o m Wells Fargo account number
          XXXXXX5536;
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      66) $114,187.52 seized f r o m Wells Fargo account number
         XXXXXX5551;

      67) $43,132.68 seized f r o m Wells Fargo account number
         XXXXXX6320;

       68) $1,611.81 seized f r o m Wells Fargo Advisors account number
          XXXX-6797;

       69) $158,010.36 seized f r o m Wells Fargo account number
          XXXXXX7400;

       70) $8,796.58 seized f r o m Wells Fargo Advisors account number
          XXXX-7939;

       71) $139,577.61 seized f r o m Wells Fargo account number
          XXXXXX8032;

       72) $79,896.51 seized f r o m Wells Fargo account number
          XXXXXX8575;

       73) $16,882.82 seized f r o m Wells Fargo account number
          XXXXXX8594;

       74) $61,854.65 seized f r o m Wells Fargo account number
          XXXXXX8658;

       75) $39,597.41 seized f r o m Wells Fargo account number
          XXXXXX8674; and

       76) $44,405.30 seized f r o m Wells Fargo account number
          XXXXXX9969;


 B. CORPORATE A N D TRUST ENTITIES:

       1) Sterling Currency Group, LLC;

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      2) Sterling Online Processing Services, LLC;

      3) GID Partners, LLC;

      4) Alex Capital Holdings, LLC;

      5) Lullwater Holdings;

      6) Lullwater Trust;

       7) Curtis Creek;

      8) Valley Trust;

       9) Springlake Trading, LLC;

       10) JS Real Estate Investments, LLC;

       11) SR Equipment Leasing, LLC;

       12) Primestone Properties, LLC;

       13) Wingover Capital, LLC;

       14) Northwest Capital, LLC;

       15) The TAR Revocable Trust;

       16) Broadway Trader 4Z, LLC;

       17) Yards at Noda, LLC;

       18) Sherrills Ford Holdings, LLC;

       19) Scotch Cove, LLC;

       20) RG Classics, LLC;

       21) Isolveit.com, LLC;

       22) Sterlingfunder, LLC;

       23) Trinvest, LLC;
                                  21
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      24) Sky Combat Blue, LLC;

      25) TR East Point Real Estate, LLC;

      26) TR Interactive Technologies, LLC;

      27) Polaris Aviation, LLC;

      28) Sky Combat Red, LLC;

      29) Cascades at Rea, LLC;

      30) Arrowood Station Holdings, LLC;

      31) Arrowhead Station Holdings, LLC;

       32) Miracle Charters, LLC;

       33) TR Real Estate, LLC;

       34) Whistlejacket, Inc.;

       35) J-Brem, LLC;

       36) Therrell Farms Estates, LLC;

       37) Zonolite Holdings, LLC;

       38) Sustainability Solutions, LLC;

       39) 200 West Land DST;

       40) 200 West Building, LLC;

       41) Primestone FifeCo Realty Fund, LLC;

       42) Preferred Capital, LLC;

       43) Wingover Ranch, LLC;

       44) Shaw Capital & Guaranty, LLC;

       45) Shaw Irrevocable Trust;
                                     22
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      46) Shaw Alys Beach, LLC;

      47) GID Associates, LLC; and

      48) LeVan Capital, LLC, f / k / a Trinvest Partners, LLC;

       REAL PROPERTIES:

       1) the real property located at 4536 East Brookhaven Drive, N.E.,
          a / k / a 3060 Mabry Road, Atlanta, Fulton and DeKalb Counties,
          Georgia, Fulton Tax Parcel ID No.: 17-001300020262 and DeKalb
          Tax Parcel ID No.: 18-275-02-001;

       2) the real property located at 1418 Dresden Drive, N.E., Unit A310,
          Atlanta, DeKalb County, Georgia, Tax Parcel ID No.: 18-238-18-
          072;

       3) the real property located at 3464 Paces Place, N.W., Atlanta,
          Fulton County, Georgia, Tax Parcel ID No.: 17-019800030227;

       4) the real property located at 48 Shinbone Court, Panama City
          Beach, Walton County, Florida, Tax Parcel I D No.: 27-3S-18-
          16420-0JJ-0150;

       5) the real property located at 7 La Garza Court, Panama City
          Beach, Walton County, Florida, Tax Parcel ID No.: 27-3S-18-
          16420-0NN-0060;

       6) the real property located at 715 Rollerton Road, Charlotte,
          Mecklenburg County, North Carolina, Tax Parcel ID No.:
          08303142, more particularly described as:

          Being a portion of that certain parcel of land located i n Charlotte,
          Mecklenburg County, North Carolina formerly having a Parcel
          ID# of 08303101, recorded i n Deed Book 22268, Page 908 of the
          Mecklenburg County Registry, and being more particularly
          described as follows:


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         BEGINNING at an existing iron pipe, said pipe being the
         northwest corner of R M 36th Street Investors, LLC (now or
         formerly) Deed Book 20682, Page 575; thence w i t h the western
         line of RM 36th Street Investors, LLC, S 26°49'36" E a total
         distance of 403.52 feet to a point i n the center of the Norfolk
         Southern Railroad right-of-way, passing a new iron pipe at 13.85
         feet; thence w i t h the center of the Norfolk Southern Railroad
         right-of-way, said right-of-way being forty feet (40') i n width, the
         following (3) calls:

         1) S 69°25'24"W, a distance of 498.00 feet to a point; thence

         2) around a curve to the left having a radius of 1,392.37 feet for
         an arc distance of 336.98 feet (chord bearing and distance of S
         62°29'24" W 336.16 feet) to a point; thence

         3) S 55°33'24" W, a distance of 20.06 feet to a point i n the center
         of the right-of-way for a railroad spur line;

          thence continuing w i t h the center of the railroad spur line right-
          of-way for six (6) calls and also severing the land of CAR-CHI,
          LLC, a North Carolina Limited Liability Company (now or
          formerly) and then continuing for three (3) more calls for a total
          of nine (9) calls as follows:

          1) around a curve to the right having a radius of 1,479.38 feet for
          an arc distance of 95.75 feet (chord bearing and distance of S
          60°03'20" W 95.73 feet) to a point; thence

          2) around a curve to the right having a radius of 878.08 feet for
          an arc distance of 99.84 feet (chord bearing and distance of S
          65°10'01" W 99.78 feet) to a point; thence

          3) around a curve to the right having a radius of 461.80 feet for
          an arc distance of 99.76 feet (chord bearing and distance of S
          74°36' 47" W 99.57 feet) to a point; thence



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         4) around a curve to the right having a radius of 465.99 feet for
         an arc distance of 100.70 feet (chord bearing and distance of S
         86°59'32" W 100.50 feet) to a point; thence

          5) around a curve to the right having a radius of 604.51 feet for
          an arc distance of 100.88 feet (chord bearing and distance of N
          82°02' 11" W 102.55 feet) to a point; thence

          6) around a curve to the right having a radius of 1079.86 feet for
          an arc distance of 43.72 feet (chord bearing and distance of N
          76°05'45" W 43.72 feet) to a point; thence

          7) N 26°48'25" E, a distance of 215.17 feet to a point; thence
          leaving the center of the railroad spur line right-of-way and
          continuing to sever the land of CAR-CHI, L L C

          8) around a curve to the right having a radius of 709.79 feet for
          an arc distance of 503.29 feet (chord bearing and distance of N
          47°07' 13" E 492.82 feet) to a point; thence

          9) N 67°26'02" E, a distance of 706.87 feet to the POINT OF
          BEGINNING, containing 10.86 acres, more or less, and shown as
          "Tract 1" on a Final Subdivision Plat by The John R. McAdams
          Company, Inc. entitled "THE YARDS A T N O D A FINAL
          SUBDIVISION PLAT- M A P 1," dated June 12, 2008.

          LESS A N D EXCEPT that portion of the above described property
          consisting of 17,950 square feet, more or less, as described i n that
          Final Judgment recorded i n Book 26953, at Page 586, of the
          Mecklenburg County Public Registry.



          Note:
          In the deed filed of record i n Book 23948, at Page 734, of the
          Mecklenburg County Public Registry, the chord distance i n call
          #5 above is stated to be 100.76 feet. However, the Survey referred
          to above lists the chord distance for that same call as 102.55. See

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         the Survey filed of record i n Map Book 50, at Page 476, of the
         Mecklenburg County Public Registry.

         Being the same property shown and depicted on the survey
         entitled " A L T A / A C S M Land Title Survey Prepared for YARDS
         AT NODA, LLC" prepared by C. Clark Neilson, N C PLS No. L-
         3212, dated March 8, 2012, last revised February 13, 2013,
         designated Map File W-1732B, and being more particularly
         described as:

         That certain parcel of land, situated, lying and being i n the City
         of Charlotte, Mecklenburg County, North Carolina, and being
         more particularly described as follows:

         COMMENCING at NGS Monument " M 045", having N C GRID
         NAD83 coordinates of N:549,759.58 ft; E: 1,459,955.84 ft; thence
         N28°52'00" E a horizontal ground distance of 590.55 feet to an
         existing iron pipe, said point being located at the northwest
         corner of the RM36th Street Investors, LLC Property as described
         in Deed Book 20682, Page 575 of the Mecklburg County Registry;
         Which is POINT OF BEGINNING; thence w i t h the aforesaid R M
         36th Sh-eet Investors, LLC Property S 26°49'36" E crossing and
         existing iron pipe at a distance of 13.52 feet for a total distance of
         403.52 feet for a total distance of 403.52 feet to a new iron rod,
         said point being located i n the centerline of the Norfolk Southern
         Railroad R / W (now or formerly); thence w i t h the centerline of
         the aforesaid Railroad R / W the following 9 courses and
         distances: 1) S 69°25'24 W a distance of 498.00 feet to a new iron
         rod; 2) w i t h the arc of a circular curve turning to the left w i t h a
         radius of 1,392.37 feet, and an arc length of 336.98 (chord: S
         62°29'24" W a distance of 336.16 feet), to an existing nail; 3) S
         55°33'24 W a distance of 20.06 feet to an existing nail; 4) w i t h the
         arc of a circular curve turning to the right a radius of 1,479.38
         feet, and an arc length of 95.75, (chord: S 60°03'20"W a distance of
         95.73 feet), to and existing iron pipe; 5) w i t h the arc of a circular
         curve turning to the right w i t h a radius of 878.08 feet, and an arc
         length of 99.83, (chord: S 65°10'01" W a distance of 99.78 feet), to
         a new iron rod; 6) w i t h the arc of a circular curve turning to the
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         right w i t h a radius of 461.80 feet, and an arc length of 99.76,
         (chord: S 74°36'47" W a distance of 99.57 feet), to an existing nail;
         7) w i t h the arc of a circular curve turning to the right w i t h a
         radius of 465.99 fee, and an arc length of 100.70, ( S 86°59'32 W a
         distance of 100.50 feet), to an existing nail; 8) w i t h the arc of a
         circular curve turning to the right w i t h a radius of 604.51 feet,
         and an arc length of 100.88, (chord: N 82°02'11" W a distance of
         10.76 feet), to a new iron rod; 9) w i t h the arc of a circular curve
         turning to the right w i t h a radius of 1,079.86 feet, and an arc
         length of 3.81,(chord: N 77°09'17" W a distance of 3.81 feet), to a
         new iron rod, said iron rod being located at the southeast corner
         of the City of Charlotte Property as described in Deed Book
         26112, Page 394 and Deed Book 26953, Page 586 of the
         Mecklenburg County Registry; thence w i t h the aforesaid City of
         Charlotte Property the following 3 courses and distances: 1) N
         26°46'52" E a distance of 200.93 feet to an existing iron rod
         capped "City Survey"; 2) w i t h the arc of a circular curve turning
         to the right w i t h a radius of 709.79 feet, and an arc length of
         377.86, (chord: N 39°34'13" E a distance of 373.42 feet), to an
         existing iron rod capped "City Survey", 3) w i t h the arc of a
         circular curve turning to the left w i t h a radius of the left w i t h a
         radius of 5629.65 feet, and an arc length of 143.91, (chord: S
         60°30'37" W a distance of 143.91 feet), to a new iron rod, said
         point being located on a common line w i t h Tract 2 of The Yards
         at Noda Subdivision, Map 1 as described i n Map Book 50, Page
         476 of the Mecklenburg County Registry; thence w i t h the
         aforesaid Tract 2 the following 2 courses and distances: 1) w i t h
         the arc of a circular curve turning to the right w i t h a radius of
         709.79 feet, and an arc length of 259.46, (chord: N 56°57'43" E a
         distance of 258.02 feet), to an existing iron pipe: 2) N 67°26'02" E
         a distance of 706.87 feet to the POINT OF BEGINNING,
         Containing 455,016 square feet or 10.4457 acres as shown on a
         survey by R.B. Pharr and Associates P.A. dated March 8 2012,
         Last revised February 13, 2013 (Map File W-1732B).

       7) 699.115 acres, more or less, i n Mountain Creek Township,
          Catawba County, North Carolina, Tax Parcel ID No.:
          461904616962, more particularly described as:
                                   27
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         A TOTAL OF 699.115 ACRES LOCATED I N M O U N T A I N
         CREEK TOWNSHIP, CATAWBA COUNTY, NORTH
         CAROLINA, CONSISTING OF THE FOLLOWING THREE (3)
         TRACTS OF L A N D : (A) T H A T TRACT OF L A N D
         DESIGNATED AS "SURPLUS TRACT 3424-01, AREA=585.933
         ACRES" O N PLAT RECORDED I N PLAT BOOK 63, PAGES 37-
         44 I N THE C A T A W B A COUNTY REGISTER OF DEEDS
         ("PLAT"), (B) T H A T TRACT OF L A N D DESIGNATED AS
         "AREA=89.447 ACRES" O N THE PLAT, A N D (C) T H A T TRACT
         OF L A N D DESIGNATED AS "AREA=23.735 ACRES" O N THE
         PLAT.

          TOGETHER W I T H SUCH A D D I T I O N A L PROPERTY AS WAS
          CONVEYED TO GRANTOR BY DENNIS WINKS A N D
          PAMELA WINKS PURSUANT TO T H A T CERTAIN LINE
          AGREEMENT DATED M A Y 7, 2013 A N D RECORDED JULY 18,
          2013 I N BOOK 3200, PAGE 176 I N THE C A T A W B A COUNTY
          REGISTER OF DEEDS.

          LESS A N D EXCEPT SUCH PROPERTY AS WAS CONVEYED
          TO DENNIS WINKS A N D PAMELA WINKS BY GRANTOR
          PURSUANT TO T H A T CERTAIN LINE AGREEMENT DATED
          MAY 7, 2013 A N D RECORDED JULY 18, 2013, I N BOOK 3200,
          PAGE 176 I N THE CATAWBA COUNTY REGISTER OF DEEDS.

          TOGETHER W I T H THE NON-EXCLUSIVE RIGHTS OF
          ACCESS UNDER THE RIGHT-OF-WAY AGREEMENT FOR
          RACCOON TRACT DRIVE RECORDED I N BOOK 1718 AT
          PAGE 403, C A T A W B A COUNTY REGISTER OF DEEDS
          OFFICE, AS SHOWN O N PLAT RECORDED I N PLAT BOOK
          53, PAGE 48, AFORESAID COUNTY REGISTRY;

          the real property located at 200 West Second Street, Winston-
          Salem, Forsyth County, North Carolina, Tax Parcel ID No.: 6835-
          26-1005.00, more particularly described as:



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         A L L OF THAT PROPERTY BEING K N O W N A N D
         DESIGNATED AS LOT 1 AS S H O W N O N THE M A P OF TRIAD
         PARK AS RECORDED I N PLAT BOOK 30, PAGE 40, I N THE
         OFFICE OF THE REGISTER OF DEEDS OF FORSYTH COUNTY,
         NORTH CAROLINA, REFERENCE TO W H I C H IS HEREBY
         MADE FOR A MORE PARTICULAR DESCRIPTION. ALSO
         BEING A PORTION OF PARCEL 16, AS SHOWN O N M A P OF
         CENTRAL D O W N T O W N PROJ. NO. N.C. R-55, AS RECORDED
         I N PLAT BOOK 28, PAGE 121, FORSYTH COUNTY REGISTRY.

          TOGETHER W I T H PERMANENT A N D EXCLUSIVE
          EASEMENT ENTITLED "OFFICE BUILDING LOBBY
          EXTENSION" A N D IDENTIFIED AS EASEMENT "C" O N THE
          MAP OF TRIAD PARK RECORDED I N PLAT BOOK 30, AT
          PAGE 40, FORSYTH COUNTY REGISTRY.

          TOGETHER W I T H THE EASEMENTS A N D PARKING RIGHTS
          GRANTED BY THE CITY OF WINSTON-SALEM TO DUDLEY
          WEBB & COMPANIES, A NORTH CAROLINA CORPORATION
          (THE "DEVELOPER") I N THE DEVELOPMENT AGREEMENT
          DATED FEBRUARY 12,1985, AS A M E N D E D , W H I C H IS
          RECORDED I N BOOK 1624, AT PAGES 2191 A N D 2295, I N THE
          OFFICE OF THE REGISTER OF DEEDS OF FORSYTH COUNTY,
          NORTH CAROLINA, W H I C H EASEMENTS A N D PARKING
          RIGHTS WERE ASSIGNED BY THE DEVELOPER TO
          WEBB/WINSTON-SALEM VENTURES, 100 LIMITED
          PARTNERSHIP, A NORTH CAROLINA LIMITED
          PARTNERSHIP, BY INSTRUMENT DATED SEPTEMBER 30,
          1987, A N D RECORDED I N BOOK 1624, AT PAGE 4003, I N THE
          OFFICE OF THE REGISTER OF DEEDS OF FORSYTH COUNTY,
          NORTH CAROLINA;

       9) approximately 46.866 acres on England Street, Mecklenburg
          County, North Carolina, Tax Parcel ID Nos.: 205-173-19, 205-173-
          18, 205-173-17, 205-173-16, 205-173-15, 205-173-14, 205-173-13,
          205-173-12, 205-173-11, 205-173-02, 205-173-22, 205-173-20, and
          205-173-21, more particularly described as:

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         A l l that certain lot or parcel of land situated i n the City of
         Charlotte, Mecklenburg County, North Carolina, and more
         particularly described as follows:

         Tract 1 - Mecklenburg County Tax Parcel No. 205-173-02:

         Beginning at a f o u n d iron in the most Southwestern corner of
         property owned by the City of Charlotte as recorded i n Deed
         Book 17540, Page 337 of the Mecklenburg County Registry, said
         iron being located S 5°26'38" E 635.53' f r o m a f o u n d iron i n the
         line of City of Charlotte as described above; f r o m the POINT OF
         BEGINNING thence w i t h a bearing of S 70°57'43" E and a total
         distance of 519.76' (passing an iron at 425.68' and 469.53'), to a
         point near the centerline of the (Now or Formerly) Norfolk
         Southern Railway as shown i n Map Book 40, Page 693; thence
         leaving the margin of the centerline w i t h a bearing of S 12°55'13"
         E and a distance of 224.62', to a point; thence w i t h a bearing of S
         2°58'17" Wand a distance of 250.00', to a point; thence w i t h a
         bearing of S 68°30'46" W and a distance of 8.16', to a point near
         the centerline of the (Now or Formerly) Norfolk Southern
         Railway as referenced above; thence w i t h the margin of
         centerline of said track an Arc to the Right having a Radius of
         1671.44' and a Length of 462.30' and being Chorded by a bearing
         of S 12°51'29" W w i t h a distance of 460.83' to a point near the
         centerline of said track; thence w i t h an Arc to the Right having a
         Radius of 3278.14' and a Length of 239.85' and being Chorded by
         a bearing of S 22°52'40" W w i t h a distance of 239.80' to a point
         near the centerline of said track; thence w i t h a bearing of S
         24°58'23" Wand a distance of 262.08', to a point also near the
         centerline of said track; thence leaving the said Railway w i t h the
         common line of the (Now or Formerly) City of Charlotte, as
         recorded in Deed Book 4147, Page 370 of said registry a -bearing
         of N 70°42'34" Wand a total distance of 294.39', to a f o u n d iron
         rod (passing irons at 65.32' and at 1 04.54'); thence w i t h the
         common line of the (Now or Formerly) City of Charlotte, as
         recorded in Deed Book 4147, Page 370 of said registry w i t h a
         bearing of N 12°46'34" Wand a distance of 553.51', to a f o u n d
         concrete monument; thence w i t h the common line of The City of
                                   30
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         Charlotte, as recorded i n deed book 4147, page 370 of said
         registry a bearing of S 69°04'50" Wand a distance of 657.69', to a
         found iron pipe; thence w i t h the common line of (Now or
         Formerly) Crown Atlantic Company as recorded i n Deed Book
         10478, Page 356 of said registry a bearing of N 33°07'05" W and a
         distance of 175.49', to a found iron pipe; thence w i t h the common
         line of the (Now or Formerly) CW Holdings of Charlotte, LLC as
         recorded in Deed Book 17644, Page 302 of said registry a bearing
         of N 32°29'~4" W and a distance of 320.60', to a found iron; thence
         w i t h the common line of the (Now or Formerly) Reagents, Inc., as
         recorded i n Deed Book 3982, Page 796 of said registry a bearing
         of N 23°09'06" E and a distance of 99.74', to a found iron; thence
         w i t h the Reagents, Inc. line a bearing of N 79°38'15" Wand a
         distance of 221.70', to a f o u n d iron on the Eastern edge of the 60'
         Right of Way of England Street as shown on Map Book 23, Page
         809 of said registry; thence w i t h said Right of Way a bearing of N
         25° 11'32" E and a distance of 118.51', to a found iron; thence
         leaving said Right of Way w i t h the common line of Lemarc Inc.
         as recorded i n Deed Book 8717, Page 986 of said registry w i t h a
         bearing of S 80°01'01" E and a distance of 280.06', to a set rebar;
         thence w i t h a Lemarc line a bearing of N 25°11'32" E and a
         distance of 248.70', to a found iron; thence w i t h the Lemarc line a
         bearing of N 80°00'30" Wand a distance of 280.05', to a found iron
         i n the Eastern edge of the 60' Right of Way of England Street as
         described above; thence w i t h said right of way a bearing of N
         25°11'32" E and a distance of 714.79', to a set rebar; thence leaving
         said Right of Way w i t h the common line of the (Now or
         Formerly) City of Charlotte as recorded in Deed Book 20204,
         Page 51 of said registry a bearing of N 71°24'05" E and a distance
         of 39.53', to a set rebar; thence w i t h City of Charlotte line for (4)
         courses: (1) a bearing of S 64°54'04" E and a distance of 76.46', to a
         set rebar; (2) thence w i t h an Arc to the Left having a Radius of
         315.49' and a Length of 206.12' and being Chorded by a bearing of
         S 83°37'04" E and a distance of 202.47', to a set rebar; (3) thence
         w i t h a bearing of N 77°39'59" E and a distance of 379.7 4', to a set
         rebar; (4) thence w i t h a bearing of S 56°07'20" E and a distance of
         86.86', to a set rebar, said rebar being located S 47"45'52" W
         2365.07' (ground distance) f r o m NGS monument "M-082"; thence
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         w i t h the common hne of the (Now or Formerly) City of Charlotte
         as recorded i n Deed Book 17540, Page 337 of the Mecklenburg
         County Registry a bearing of S 5°26'38" E and a distance of 373.44'
         to the POINT OF BEGINNING, and containing 46.866 Acres as
         shown on survey by Carolina Surveyors, Inc., last revised luly 24,
         2007.

         LESS A N D EXCEPT that certain property described as follows:

         Being all of Parcel l A , Parcel 1 B, Parcel 2A, Parcel 3A, Parcel 3B,
         Parcel 11 A, Parcel 11 B, Parcel 11 C, Alley 1, Alley 2, Alley 3,
         Alley 11 and all streets dedicated as Public Right of Way, all as
         shown on that certain survey entitled "A Plat Showing liadley
         Subdivision Map 1" dated February 4, 2009, prepared by Thomas
         E. White, North Carolina Professional Land Surveyor L-4689 of
         Carolina Surveyors, Inc. and recorded i n Map Book 51, Page 367,
         Mecklenburg County Public Registry.

         Tract n - Mecklenburg County Tax Parcel Nos. 205-173-11, 205-
         173-12, 205-173-13, 205-173-14, 205-173-15, 205-173-16, 205-173-17,
         205-173-18, 205-173-19, 205-173-20, 205-173-21 and 205-173-22:

          Being all of Parcel l A , Parcel I B , Parcel 2A, Parcel 3A, Parcel 3B,
          Parcel H A , Parcel I I B , Parcel I I C , Alley 1, Alley 2, Alley 3 and
          Alley 11 as shown on that certain survey entitled "A Plat
          Showing Hadley Subdivision Map 1" dated February 4, 2009,
          prepared by Thomas E. White, North Carolina Professional Land
          Surveyor L-4689 of Carolina Surveyors, Inc. and recorded in Map
          Book 51, Page 367, Mecklenburg County Public Registry.

          Tracts I and II being portions of that certain property conveyed
          f r o m Brian B. Helms and wife Debra C. Helms and Jerry N .
          Helms and wife. Sue Lemmond Helms to Arrowood Station, LLC
          by deed recorded August 29, 2007 i n Book 22742, Page 593,
          Mecklenburg County Public Registry.

       10) the real property located at 2294 Fernwood Drive, East Point,
          Fulton County, Georgia, Tax Parcel ID No.: 14-016600021379;
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      11) the real property located at 1891 Connally Drive, East Point,
         Fulton County, Georgia, Tax Parcel ID No.: 14-016600021361;

      12) the real property located at 1901 Connally Drive, East Point,
         Fulton County, Georgia, Tax Parcel ID No.: 14-016600021353;

      13) the real property located at 2095 Newnan Avenue, East Point,
         Fulton County, Georgia, Tax Parcel ID No.: 14-013400020644;

       14) the real property located at 2225 Dodson Drive, East Point,
          Fulton County, Georgia, Tax Parcel ID No.: 14-019800070014;

       15) the real property located at 1202/1216 Zonolite Road, N.E.,
          Atlanta, DeKalb County, Georgia, Tax Parcel ID No.: 18-107-14-
          036;

       16) the real property located at 1750 Briarwood Road, Atlanta,
          DeKalb County, Georgia, Tax Parcel I D No.: 18-197-02-006;

       17) the real property located at 1808 Therrell Farms Road, Sandy
          Ridge, Union County, North Carolina, Tax Parcel ID Nos.:
          06183026, 06183029, 06183030, and 06183058, more particularly
          described as:

          Tract 1:
          Being all of Lots 1 and 33 of Therrell Farms, Map 1 as same is
          shown on map thereof recorded i n Plat Cabinet H , at File 757, in
          the Union County Public Registry, North Carolina; reference to
          which is hereby made for a more particular description thereof.

          Tract 2:
          Being all of Lots 4 and 5 of Therrell Farms, Map 2, as same is
          shown on map thereof recorded i n Plat Cabinet H , at File 759, i n
          the Union County Public Registry, North Carolina; reference to
          which is hereby made for a more particular description thereof;



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       18) the real property specifically identified as: 4237 Rea Road, 7903
          Rea View Court, 7907 Rea View Court, 7911 Rea View Court,
          7915 Rea View Court, 7919 Rea View Court, 7920 Rea View
          Court, 7916 Rea View Court, 7912 Rea View Court, 7908 Rea
          View Court, 7904 Rea View Court, 0.14 acres on Rea View Court,
          0.141 acres on Rea View Court, 0.052 acres on Rea View Court,
          and 0.107 acres on Rea View Court, Charlotte, Mecklenburg
          County, North Carolina, Tax Parcel ID Nos.: 21159314, 21159318,
          21159319, 21159320, 21159321, 21159322, 21159323, 21159324,
          21159325, 21159326, 21159327, 21159328, 21159329, 21159330, and
          21159331, more particularly described as:

          SITUATED i n the City of Charlotte, Mecklenburg County, North
          Carolina, and being more particularly described as follows:

          BEGINNING at the iron survey stake, having North Carolina
          ( N A D 83) grid coordinates of N = 498,776.23 feet and E =
          1,460,301.57 feet located at the northwest corner of the property
          of 2728 Holding Corporation, as described i n Deed Book 8736,
          Page 810 i n the Mecklenburg County Public Registry (hereinafter
          the "Registry"); thence f r o m the point of beginning, w i t h and
          along the boundary line of said property of 2728 Holding
          Corporation, S. 14-28-47 E. 12.46 feet to an iron survey stake
          located at the northwest corner of the property of Madina M .
          Riley, as described in Deed Book 21469, Page 777, i n the Registry;
          thence w i t h and along the boundary line of said property of
          Madina M . Riley, S. 14-28-47 E. 326.72 feet to a misc. deciduous
          tree; thence S. 41-19-05 W. 100.45 feet to an iron pipe lying i n the
          northeast corner of the property of Jane Rea Clute, et al., as
          described in Deed Book 5562, Page 243, of the Registry; thence
          w i t h and along the boundary line of said property of Jane Rea
          Clute, et a l , N . 49-17-05 W. 293.77 feet to an iron pipe having
          North Carolina ( N A D 83) grid coordinates of N = 498,776.23 feet
          and E = 1,460,301.57 feet, lying southeast of the right-of-way of
          Rea Road; thence the following three (3) courses and distances:
          (1) w i t h the arc of a circular curve to the left, having a radius of
          2,473.08 feet, a chord bearing and distance of N . 43-55-16 E. 85.28
          feet and an arc length of 85.29 feet to a point; (2) N . 43-45-15 E.
                                    34
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          60.35 feet to a point; (3) N . 43-56-00 E. 148.87 feet to an iron
          survey stake, the place of beginning, all as shown on that certain
          Topographic Survey for Insite Residential, LLC, dated December
          31, 2007, and prepared by A.G. Zoutewelle, P.A.

          A D D I T I O N A L DESCRIBED AS FOLLOWS:
          SITUATED i n the City of Charlotte, Mecklenburg County, North
          Carolina, and being more particularly described as follows:

          BEGINNING at the iron survey stake, having North Carolina
          (NAD 83) grid coordinates of N = 498,776.23 feet and E =
          1,460,301.57 feet located at the northwest corner of the property
          of 2728 Holding Corporation, as described i n Deed Book 8736,
          Page 810, in the Mecklenburg County Public Registry (hereinafter
          the "Registry"); thence f r o m the point of beginning, w i t h and
          along the boundary line of said property of 2728 Holding
          Corporation, S. 14-28-47 E. 12.46 feet to an iron survey stake
          located at the northwest corner of the property of Madina M .
          Riley, as described i n Deed Book 21469, Page 777, i n the Registry;
          thence w i t h and along the boundary line of said property of
          Madina M . Riley, S. 14-28-47 E. 326.72 feet to a misc. deciduous
          tree; thence S. 41-19-05 W. 100.45 feet to an iron pipe lying i n the
          northeast corner of the property of Jane Rea Clute et al, as
          described in Deed Book 5562, Page 243 of the Registry; thence
          w i t h and along the boundary line of said property of Jane Rea
          Clute et al, N . 49-17-05 W. 293.77 feet to an iron pipe having
          North Carolina ( N A D 83) grid coordinates of N = 498,573.69 feet
          and E = 1,460,087.84 feet, lying southeast of the right-of-way of
          Rea Road; thence the following three (3) courses and distances:
          (1) w i t h the arc of a circular curve to the left, having a radius of
          2,473.08 feet, a chord bearing and distance of N . 43-55-16 E. 85.28
          feet and an arc length of 85.29 feet to a point; (2) N . 43-45-15 E.
          60.35 feet to a point; (3) N . 43-56-00 E. 148.87 feet to an iron
          survey stake, the place of beginning, all as shown on that certain
          Topographic Survey for Insite Residential, LLC, dated December
          31,2007, and prepared by A.G. Zoutewelle, P.A.; and



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      19) the real property located at 2553 340* Street, Keokuk, and
         adjoining 377 acres i n Montrose Township, Lee County, Iowa,
         Tax Parcel ID Nos.: 042318341000070; 042318342000020;
         042318343000050; 042318344000010; 042318344000020;
         042318344000040; 042318342000040; 042318344000030;
         042318342000010; and 042318342000030, more particularly
         described as:

          Three Hundred and Seventy Seven (377) acres off the East side of
          Section Thirty Four (34), i n Township Sixty Six (66) North, Range
          Five (5) West of the Fifth Principal Meridian, i n Lee County,
          Iowa.

          Subject, however, to conveyances to Lee County, Iowa, for the
          purposes and for use as public highways of parcels recorded at
          Microfiche 98S-44 E2, Microfiche 99S-10 C7, and Book 05S, Page
          494, at the Office of the Recorder of Lee County, Iowa, and
          subject to other easements and licenses of record;

      PERSONAL PROPERTY:

       1) 2006 Cessna Citation XLS aircraft. Manufacturer's Serial Number
          560-5623, bearing registration number N562VP;

      2) Gipps Aero Party Limited Model GA8TC-320 aircraft bearing tail
         number N68GA and serial number GA8-TC-320-12-187;

      3) Extra Flugzeugproduktions Und Model EA300/LT aircraft
         bearing tail number N330TY and serial number LT020;

      4) 2012 Mercedes Benz GL550 bearing vehicle identification number
         4JGBF8GE5CA785200;

       5) 2012 Mercedes Benz SLS A M G bearing vehicle identification
          number WDDRJ7HA1CA008056; and

       6) 2013 A u d i SS Quatro bearing vehicle identification number
          WAUD2AFD2DN020235;
                                  36
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      CURRENCY A N D MONETARY INSTRUMENTS:

      1) a total of approximately 8,671,456,050 i n Iraqi dinar seized f r o m
         2751 Buford Highway, #403, Atlanta, Georgia on June 3, 2015;

      2) a total of approximately 13,317,698,200 in Vietnamese Dong
         seized f r o m 2751 Buford Highway, #403, Atlanta, Georgia on
         June 3, 2015;

      3) a total of approximately 2,100 in Afghanis seized f r o m 2751
         Buford Highway, #403, Adanta, Georgia on June 3, 2015;

      4) a total of approximately 100 i n Chinese Yuan seized f r o m 2751
         Buford Highway, #403, Atlanta, Georgia on June 3, 2015;

       5) a total of approximately 1,600,000 i n Indonesian Rupiahs seized
          f r o m 2751 Buford Highway, #403, Atlanta, Georgia on June 3,
          2015;

       6) approximately 29 silver coins seized f r o m 2751 Buford Highway,
          #403, Atlanta, Georgia on June 3, 2015;

       7) a total of approximately 14,396,403 in Iraqi dinar seized f r o m
          4536 East Brookhaven Drive, Atlanta, Georgia on June 3, 2015;

       8) a total of approximately 20,000 i n Vietnamese Dong seized f r o m
          4536 East Brookhaven Drive, Atlanta, Georgia on June 3, 2015;

       9) a total of approximately 150,000 i n Bank of Mozambique notes
          seized f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on
          June 3, 2015;

       10) a total of approximately 23,200 i n Bank of Egypt notes seized
          f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on June 3,
          2015;



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      11) a total of approximately 1,000 in Union of Burma bank notes
         seized f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on
         June 3, 2015;

      12) a total of approximately 1,000,000 in Republic of Iran bank notes
         seized f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on
         June 3, 2015;

      13) a total of approximately 9,799 i n Chinese Yuan seized f r o m 4536
         East Brookhaven Drive, Atlanta, Georgia on June 3, 2015;

      14) a total of approximately 1,502,600 i n Afghanis seized f r o m 4536
         East Brookhaven Drive, Atlanta, Georgia on June 3, 2015;

      15) a total of approximately 2,450 in Bank of Surtname notes seized
         f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on June 3,
         2015;

      16) a total of approximately 9,300 in Bank of Yugoslavia notes seized
         f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on June 3,
         2015;

      17) a total of approximately 155,000 i n Cambodian Bank notes seized
         f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on June 3,
         2015;

       18) a total of approximately 500 i n Brazilian currency seized f r o m
          4536 East Brookhaven Drive, Atlanta, Georgia on June 3, 2015;

       19) a total of approximately 1,000 i n Bank of Sudan notes seized
          f r o m 4536 East Brookhaven Drive, Atlanta, Georgia on June 3,
          2015;

       20) approximately 182 gold coins seized f r o m 4536 East Brookhaven
          Drive, Atlanta, Georgia on June 3, 2015;

       21) approximately 49 silver coins seized f r o m 4536 East Brookhaven
          Drive, Atlanta, Georgia on June 3, 2015; and
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             22) approximately $48,718.00 i n United States currency seized f r o m
                4536 East Brookhaven Drive, Atlanta, Georgia on June 3, 2015.

    28. If, as a result of any act or omission of TYSON RHAME, JAMES SHAW,

FRANK BELL, OR TERRENCE KELLER, any property subject to forfeiture:

         a. cannot be located upon the exercise of due diligence;

         b. has been transferred or sold to, or deposited with, a third person;

         c. has been placed beyond the jurisdiction of the Court;

         d. has been substantially diminished i n value; or

         e. has been commingled w i t h other property which cannot be

             subdivided without difficulty;

the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 18, United States Code, Section 982(b)(1); or Title

28, United States Code, Section 2461(c), to seek forfeiture of any other




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property of said defendants up to the value of the forfeitable property.




                                             A



                                                   FOREPERSON
JOHN A.      HORN
 United States      Attorney



T H O M A S J. K R E P P
 Assistant     United   States    Attorney
GeorgiaJBaiiMx346Z&j^


STEVEN D . dpiMBERG
 Assistant     United   States    Attorney
Georgia Bar No. 312144


 A
J ^ M I E L. M I C K E L S O N
 Assistant     United    States   Attorney
Georgia Bar No. 591094

600 U.S. Courthouse
75 Spring Street, S.W.
Atianta, GA 30303
404-581-6000; Fax: 404-581-6181




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                                          C R I M I N A L C H A R G E S FILED


Today's Date: February 9, 2016                                 Date Charges Filed: February 10, 2016
U S A O #: 2014R00956
Caption: Tyson Rhame, et al.                                   U n d e r Seal? Yes
Court Number:                                                  P S N Case: No                  FILED I N OPFNC


Charge Type: Indictment                                        Felony
                                                                                                    FEB 1 § 2016
District/Magistrate Judge:                                                                      James V, , .         1
                                                                                                By „         '  ' '""^
                                                                                                   Deputy Cici k
                                              Defendant Information:
Tyson Rhame                                               Praecipe
 Charge:                                                          Count:
 18§1349                                                          1
 Charge:                                                          Count:
 18§1341 and 2
 Charge:                                                          Count:
 18§1343,1349, and 2                                 ••Li;::.::;y,v8-li - ,
 Charge:                                                          Count:
 18§1956(h)
 Charge:                                                          Count:
 18§1957 and 2                                      •Vxy^;^-,,:y'yl3-24 L,''V'
Terrence Keller                                               Praecipe
 Charge:                                                          Count:
 18§1349
 Charge:                                                          Count:
 18§1341 and 2
 Charge:                                                          Count:
 18§1343,1349, and 2
James Shaw                                                     Praecipe
 Charge:                                                          Count:
 18§1349
 Charge:                                                         Count:
 18§1341 and 2                                                 •Y2-7:y •••••• y , L , , ^
 Charge:                                                          Count:
 18§1343,1349, and 2                            •••;-''Cvyv:://;-:';84i^y •••-y^v
 Charge:                                                         Count:
 18§1956(h)                                                    ••^•^12/L:v''vLL,
 Charge:                                                         Count:
 18§1957and2                                                 : ••••:13-24y;
Frank Bell                                                    Praecipe
 Charge:                                                         Count:
 18§1349


[IF O C D E T F Case= Yes Then
R E M I N D E R : Fonvard copy of indictment and this form to OCDETF          Assistant
